                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at WINCHESTER

 UNITED STATES OF AMERICA                     )         MATTICE/CARTER
                                              )
        v.                                    )         CASE NO. 4:11-CR-12
                                              )
 CHARLES NORRIS                               )


                                            ORDER

        On April 10, 2012, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture and distribute five (5)

 grams or more of methamphetamine (actual) and fifty (50) grams or more of a mixture and

 substance containing a detectable amount of methamphetamine, a Schedule II controlled

 substance, in violation of 21 USC '' 846, 841(a)(1) and 841(b)(1)(B), in exchange for the

 undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in the lesser included offense in Count One of the

 Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

 sentencing; and (d) Defendant shall remain on bond pending sentencing in this matter (Doc. 455).

 Neither party filed an objection within the given fourteen days. After reviewing the record, the

 Court agrees with the magistrate judge=s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge=s report and recommendation pursuant to 28

 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;



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        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN ON BOND pending sentencing on Monday, July 30,

 2012, at 9:00 am.

        SO ORDERED.

        ENTER:


                                                 /s/ Harry S. Mattice, Jr.
                                                HARRY S. MATTICE, JR.
                                            UNITED STATES DISTRICT JUDGE




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